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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF KENTUCKY
                             SOUTHERN DIVISION
                                  (at Pikeville)

 DEDRA D. LEWIS,                                   )
                                                   )
        Plaintiff,                                 )         Civil Action No. 7:19-CV-069-CHB
                                                   )
 v.                                                )
                                                   )                  JUDGMENT
 ANDREW M. SAUL,                                   )
 Commissioner of Social Security,                  )
                                                   )

        Defendant.
                                    ***   ***          ***   ***
      In accordance with the opinion and order entered on this date, the Court ORDERS and

ADJUDGES as follows:

      1. The decision of the Commissioner is AFFIRMED under sentence four of 42 U.S.C. §

         405(g) as it was supported by substantial evidence and was decided by proper legal

         standards;

      2. This matter is DISMISSED and STRICKEN from the Court’s active docket; and

      3. This judgment is FINAL and APPEALABLE.

         This the 12th day of January, 2021.




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